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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



 ___________________________________
                                                      )
                                                      )
       Rodney Lail, et al.,                           )
                                                      )
               Plaintiffs,                            )
                                                      )       C.A. No. 10-CV-210-PLF
                       v.                             )
                                                      )
       United States Government, et al.,              )
                                                      )
                                                      )
               Defendants.                            )
                                                      )
                                                      )
                                                      )


  MOTION OF PRO SE PLAINTIFFS FOR A STAY OF TIME TO FILE A RESPONSE
  TO DEFENDANT LINDEMAN MOTION TO DISMISS, DOCUMENT NUMBER 37

       Pursuant to Local Rules LCv7(m), Pro Se Plaintiffs were not able to gain consent for

expansion of time from Pro Se Defendant Lindeman as Defendant Lindeman will not discuss

matters with Pro Se litigants.

                             BACKGROUND AND DISCUSSION


       In this case the Defendant State of South Carolina has maliciously and wrongfully

abducted without due process 93 year old Plaintiff Doris Holt almost immediately after the

filing of the required tort notice notifying the State of South Carolina they were to be

named in a tort action. On January 4, 2010, Plaintiff Doris Holt disappeared completely


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and has been kept in isolation, if she is still alive, in an attempt to stop the filing of this

lawsuit. As stated in previous filings. Subsequent to the issuance of Document No. 37, As

discussions began with the office of the Governor’s Office of the State of South Carolina

concerning the location of Plaintiff Doris Holt.

        Through an intermediary Pro Se Plaintiff Spencer has been attempting to gain

access to determine if his mother can be seen by medical personnel and even if she is still

alive since Document 37 has been filed. Pro Se Plaintiffs have previously sought such

relief through this Court in Document No. 10.

        Defendants again have used the life and well being of 93 year old Plaintiff Doris

Holt to interfere with Pro Se Plaintiffs preparation for this case.

                                          RELIEF SOUGHT

        Pro Se Plaintiffs respectfully pray the Court to rule in the interests of justice and as

requested by Plaintiffs in Document 10 and herein to:

        1. Grant Pro Se Plaintiffs request for appointment of competent Pro Bono Counsel

            to represent Pro Se Plaintiffs in this litigation.

        2. Order immediate access to Plaintiff Doris Holt to determine her medical

            condition and allow unfettered access of independent medical personnel to her

            and her medical records, and access to her family, friends and legal counsel in

            accordance with the State laws of South Carolina.

        3. Grant Plaintiffs an expansion of time of not more than two weeks including and

            up to September 13, 2010 to respond to Defendant Document 37 and and/or

            grant such additional time to allow preparation of Pro Bono Counsel if such is

            appointed by the Court.



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